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 2
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 3   Sacramento, CA 95814

 4   Attorney for Aricela Villa
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 8
                    IN THE UNITED STATES DISTRICT COURT
 9
                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,              ) Case No.: 2:07cr00515
                                            )
12
               Plaintiff,                   ) STIPULATION AND ORDER
                                            )
13                                          ) DATE: October 18, 2010
          v.
                                            ) TIME: 8:30 a.m.
14
     MARICELLA VILLA,                       ) JUDGE: Honorable William Schubb
                                            )
15                                          )
               Defendants.
                                            )
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17
          It is hereby stipulated and agreed to between the United
18
     States of America through MICHAEL BECKWITH, Assistant U.S.
19
     Attorney, and defendant, Maricella Villa, through her counsel,
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     KRESTA DALY, that the sentencing hearing of October 18, 2010 be
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     vacated and that the sentencing hearing be set for January 24,
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     2011 at 8:30 a.m.
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     //
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     //
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          Case 2:07-cr-00515-WBS Document 249 Filed 10/15/10 Page 2 of 2


 1   DATED:   October 14, 2010        Respectfully submitted,
 2

 3

 4                                      s/Kresta Daly_____________
                                      KRESTA DALY
 5                                    Attorney for Aricela Villa
 6

 7

 8
                                        s/Kresta Daly_____________
 9   DATED:   October 14, 2010        Michael Beckwith
                                      Assistant United States Attorney
10

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12
                                   O R D E R
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          IT IS SO ORDERED.
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     DATED:   October 14, 2010
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